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                                                           January 14, 2021

BY ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, NY 10007

         Re: United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        We write on behalf of our client, Ghislaine Maxwell, to respectfully request that the Court
order the Bureau of Prisons to give Ms. Maxwell access to the laptop computer provided by the
government so that she can review discovery on weekends and holidays.

        At the request of defense counsel, the government provided Ms. Maxwell with a laptop
computer to review the voluminous discovery, which was produced on a series of external hard
drives. Currently, Ms. Maxwell is given access to the laptop only on weekdays. On weekends
and holidays, Ms. Maxwell must use the prison computer on her floor to review discovery.
However, the prison computer is not equipped with the software necessary to read large portions
of the discovery recently produced by the government. As a result, Ms. Maxwell loses several
days of review time every weekend and every holiday because she does not have access to the
laptop. If Ms. Maxwell is to have any hope of reviewing the millions of documents produced in
discovery so that she can properly prepare her defense by the July 12, 2021 trial date, she must
have access to the laptop every day, including weekends and holidays.

       Defense counsel has raised this issue with the government and it has no objection to Ms.
Maxwell having access to the laptop seven days a week. At the request of defense counsel, the
government has contacted officials at the MDC on several occasions in the past few weeks to
request that they lift this restriction, but without success.

        There is no principled justification for this restriction. Ms. Maxwell was given access to
the laptop every day (including weekends and the Thanksgiving holiday) for the entire 14-day
period that she was quarantined in her isolation cell in November-December 2020 because she had
come into close contact with a member of the MDC staff who had tested positive for COVID. In
addition, the laptop is kept in a locker in the same room where the prison computer is located, so it
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  would not require any change in Ms. Maxwell’s movements to give her the requested access.
  Furthermore, on at least three occasions since she was released from quarantine, Ms. Maxwell’s
  security team gave her the laptop to review discovery on the weekend.

         There is clearly no actual impediment preventing the MDC staff from providing Ms.
  Maxwell access to the laptop on weekends and holidays. Given the millions of documents that
  Ms. Maxwell must review before trial in order to prepare her defense, it is critical that she be
  given as much time as possible with the laptop to review the discovery. We therefore respectfully
  request that the Court order the BOP to give Ms. Maxwell access to the laptop on weekends and
  holidays during the hours that she is permitted to review discovery.

                                                           Sincerely,


                                                             /s/ Christian Everdell     .
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  cc:    All Counsel of Record (By ECF)
